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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                           CRIMINAL MINUTES - GENERAL




 Case No.       CR 06-00391-RMT                                                          Date   January 16, 2007


 Present: The Honorable    THE HONORABLE ROBERT M. TAKASUGI, SENIOR U.S. DISTRICT JUDGE
 Interpreter

          Heidi M. Hricko                    Donna Fitzsimons                  Sherilyn Peace Garnett, AUSA
            Deputy Clerk                  Court Reporter/Recorder,                  Assistant U.S. Attorney


            U.S.A. v. Defendant(s):         Present Cust. Bond        Attorneys for Defendants:     Present App. Ret.

1)        Steven Eric Prowler                  x      x            1) Chris Dybwad, DFPD                 x     x


 Proceedings:          STATUS CONFERENCE RE: DEFENDANT'S MOTIONS

      Defendant is present with counsel. Motions are not heard, as the witness to be cross-
examined is not present.

         Court and counsel agree on the following dates:

      1. Defendant's Motion to Dismiss and Defendant's Motion to Suppress are to be heard on
January 29, 2007 at 10:30 a.m.

         2. The Jury Trial is not scheduled to commence on February 27, 2007 at 9:00 a.m.




                                                                                                     :       .15

                                                              Initials of Deputy Clerk             hmh
cc: USM
    PSA




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